
The Supreme Court affirmed the judgment of the Court below on the 18th of May, 1885, in the following opinion :
Per Curiam.
The Court found, and on sufficient evidence, that the Fi. Fa. improperly issued, and therefore set it aside. As the payment thereon was made under a threat of the seizure of personal property by virtue thereof, it cannot be said to have been voluntary. It was made to protect the personal property from sale, when in fact and in law the use party had no right to sell it. The money remained in the hands of the Sheriff, an officer of the Court. Restitution of the money was properly ordered to be made to the person from whom it had -uujustly, and by color of legal process, been obtained.
J udgmeut affirmed.
*522APPENDIX.
■ Containing the Pennsylvania Cases Originally Reported in the Luzerne Legal Observer, Volume 4, Which are not Elsewhere Reported.
